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                                               U.S. Department of Justice
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Yaakov M. Roth                                                              (202) 514-3301
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                                         June 6, 2025

Clerk of Court
U.S. Court of Appeals for the D.C. Circuit
333 Constitution Avenue, NW
Washington, D.C. 20001

Re:   Climate United Fund v. Citibank, N.A., No. 25-5122 (oral argument
      held May 19, 2025)

Dear Mr. Cislak:

       The government writes to inform the Court of a recent letter it received from
counsel for one of the plaintiffs in the above-captioned matter. The stated purpose of
the letter is to ensure that EPA and Citibank “adhere to their obligations under the
District Court’s preliminary injunction and the rules of appellate procedure following
the panel’s forthcoming decision.” Letter 1. The letter then informs EPA and
Citibank that, “whatever the outcome of that decision,” they must comply with the
district court’s preliminary injunction “unless the panel orders an immediate stay of
the injunction.” Id. The letter further makes clear that, in plaintiffs’ view, if the
current administrative stay is not extended (or the district court’s injunction not
otherwise stayed), Citibank will “immediately be obligated to disburse all funds already
subject to properly made disbursement requests and instructions.” Id.

      As the government has previously noted, see Stay Motion at 11-13, plaintiffs
have submitted disbursement requests (which include requests submitted while this
Court’s administrative stay has been in effect) totaling hundreds of millions of dollars.
In addition, several of the plaintiffs have submitted further disbursement requests after
this Court issued an administrative stay in this case on April 16, 2025.

      The government disagrees with plaintiff’s reading of this Court’s April 28,
2025, order extending the administrative stay, insofar as plaintiffs suggest that the
administrative stay will automatically dissolve upon the issuance of this Court’s
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decision. Under this Court’s order, the administrative stay shall “remain in effect
pending further order of the court.” A decision on the district court’s preliminary
injunction would not, by its mere issuance, qualify as an order dissolving the
administrative stay. Nevertheless, in light of plaintiff’s representations and to avoid
the possibility that Citibank will be pressured to pay out grant funds the government
will be unable to later recover, the government respectfully requests that this Court
either specify in its decision that its administrative stay remain in effect until the
mandate issues or enter a new stay of the district court’s preliminary injunction order
when it issues its decision in this case to forestall irreparable harm.


                                        Sincerely,

                                        /s/ Yaakov M. Roth
                                        Yaakov M. Roth
Enclosure
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  May 30, 2025

  K. Winn Allen                                      Yaakov Roth
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          Re:         Climate United Fund v. Citibank, N.A., Case No. 25-5122 (D.C. Cir.)

  Dear Counsel:

          I write on behalf of my client, Power Forward Communities, Inc. (“PFC”), to ensure
  that Citibank and EPA (“Defendants”) adhere to their obligations under the District Court’s
  preliminary injunction and the rules of appellate procedure following the panel’s forthcoming
  decision in the above-referenced case. In sum, whatever the outcome of that decision, unless
  the panel orders an immediate stay of the injunction, Defendants will remain enjoined from
  effectuating the March 11, 2025 Notices of Termination, transferring funds out of any accounts
  at Citibank containing Plaintiffs’ funds, and otherwise interfering with Plaintiffs’ grants,
  including by issuing a purported Notice of Exclusive Control or terminating the Financial
  Agency Agreement. See Preliminary Injunction Order, Apr. 15, 2025, Dkt. 80.

          The only hindrance to the District Court’s injunction at present is the administrative
  stay the Circuit panel imposed on April 16, 2025, which by its terms remains in place “pending
  further order of the Court.” As relevant now, that order stays the District Court’s preliminary
  injunction only to the extent that the injunction “enables or requires Citibank to release,
  disburse, transfer, otherwise move, or allow access to funds.” In all other respects, the District
  Court’s preliminary injunction remains in force.

          In the event the panel affirms the District Court’s injunction and dissolves the
  administrative stay, the District Court’s preliminary injunction will immediately take full
  effect, and Defendants will again be barred from interfering with Plaintiffs’ access to their
  funds. Citibank will thus immediately be obligated to disburse all funds already subject to
  properly made disbursement requests and instructions.

          In the event the panel vacates the District Court’s injunction, the status quo will persist
  until the mandate issues, during which time Defendants will remain enjoined from, among


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  K. Winn Allen & Yaakov Roth
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  other things, causing a transfer of Plaintiffs’ funds, purporting to issue a Notice of Exclusive
  Control, or terminating the Financial Agency Agreement. The District Court’s order remains
  in effect until the mandate issues. See Uline v. Uline, 205 F.2d 870, 872 (D.C. Cir. 1953).
  Pursuant to Federal Rule of Appellate Procedure 41, the mandate in this case will not issue
  until seven days after either the court denies a timely petition for en banc review or the period
  for seeking en banc rehearing expires. See also D.C. Circuit Rule 41(a)(1).

          Defendants are advised that, in the event of a panel decision in Defendants’ favor, PFC
  will promptly move for en banc rehearing, including by seeking an emergency order from the
  en banc court to maintain the status quo should the panel issue a stay of the injunction that
  takes immediate effect. Defendants should undertake no action that could interfere with the en
  banc court’s jurisdiction before the court has an opportunity to rule.


                                                Sincerely,




                                                Beth C. Neitzel
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